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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:01CR272
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                     ORDER
                                              )
LEVI BROWN,                                   )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion for early termination of

supervised release (Filing No. 442). The motion is supported by a brief. (Filing No. 443.)

The government has not responded.

       The government will be ordered to respond. If no response is timely filed, the Court

will assume that the government has no objection to the request for early termination.

       IT IS ORDERED that the government must respond to the Defendant’s motion for

early termination of supervised release (Filing No. 442), filed on January 26, 2009, by filing

a response on or before February 9, 2009.

       DATED this 4th day of February, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
